      Case 3:19-cv-00933-VAB Document 14 Filed 06/17/19 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

FEDERAL TRADE COMMISSION,
                                             FILED UNDER SEAL
     Plaintiff,

     v.                                      Case No. ____________

GRAND TETON PROFESSIONALS, LLC, et al.,      EXHIBITS IN SUPPORT OF
                                             FTC’S EX PARTE MOTION
     Defendants.                             FOR TEMPORARY
                                             RESTRAINING ORDER
                                             WITH AN ASSET FREEZE
                                             AND OTHER EQUITABLE
                                             RELIEF, AND ORDER TO
                                             SHOW CAUSE WHY A
                                             PRELIMINARY
                                             INJUNCTION SHOULD NOT
                                             ISSUE




                                    1
             Case 3:19-cv-00933-VAB Document 14 Filed 06/17/19 Page 2 of 2



                                                 TABLE OF EXHIBITS


Declaration of Courtney Jacobs ............................................................................................... PX01

Declaration of James Kocher ................................................................................................... PX02

Declaration of Joshua McDonald............................................................................................. PX03

Declaration of Renee Messiha ................................................................................................. PX04

Declaration of Jack Smith, Jr. .................................................................................................. PX05

Declaration of Ronnetta Johnson ............................................................................................. PX06

Declaration of Jennifer Bauer .................................................................................................. PX07

Declaration of David Gracia .................................................................................................... PX08

Declaration of Kenneth Olmstead............................................................................................ PX09

Declaration of Oliver Ross....................................................................................................... PX10

Declaration of Amy Jackson .................................................................................................... PX11

Declaration of Margaret Leslie ................................................................................................ PX12

Declaration of Ethan Dornhelm ............................................................................................... PX13

Declaration of Cecilia Valadez ................................................................................................ PX14

Declaration of Michael Chodos ............................................................................................... PX15

Declaration of Ryan Sullivan ................................................................................................... PX16

Supplemental Declaration of Ryan Sullivan ............................................................................ PX17

Declaration of Elizabeth Kwok ................................................................................................ PX18




                                                                  2
